                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                             Case No. 21-CR-28

ASHTON HOWARD,

                  Defendant.
______________________________________________________________________________

                                  JOINT STATUS REPORT


      The United States of America, by and through its attorneys, Richard Frohling,

United States Attorney, and Benjamin Proctor, Assistant United States Attorney,

and Ashton Howard, by and through his attorney, Aneeq Ahmad, hereby submit a

joint status report as ordered by the Court in its Text Only Order of July 25, 2022.

Doc. #69.

      The defense asks for an additional two weeks to file another status report or a

plea agreement. Counsel for the defendant reports that the defendant has not yet

made a decision regarding the government’s proposed plea offer, and that counsel is

still researching the applicable sentencing guidelines.

      Under these circumstances, the government does not object to this request.

Further, based on conversations earlier today (August 5, 2022) between the parties,

the parties anticipate they have a plea agreement ready to file within the next two

weeks.




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      The parties further request that the time until the next status report/plea

deadline be excluded from the Speedy Trial calculation under 18 U.S.C. §§

3161(h)(7)(A) and (B)(iv).

      The undersigned Assistant U.S. Attorney is filing this joint status report on

behalf of both parties with approval from defendant’s attorney, Aneeq Ahmad.

      Dated at Milwaukee, Wisconsin, this 5th day of August, 2022.


                                      Respectfully submitted,

                                      RICHARD FROHLING
                                      United States Attorney

                               By:    s/Benjamin Proctor

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